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                                                 UNITED STATES DISTRICTCOURT
                                                 DISTRICT OF CONNECTICUT



        141 Church Street           450 Main Street             915 Lafayette Blvd
        New Haven, CT 06510         Hartford, CT 06103          Bridgeport, CT 06604
        (203) 773-2140              (860) 240-3200              (203) 579-5861



               NOTICE TO COUNSEL AND SELF-REPRESENTED PARTIES

       The attached case has been assigned to Senior District Judge Charles S.
 Haight, Jr., who sits in New Haven. Pursuant to Local Rule 3 any pleading or other
 document to be filed in paper form shall be filed at the seat of Court where the presiding
 Judge sits.
          Counsel and Self-Represented Parties are required to become familiar with and
 abide by the Federal Rules of Civil Procedure, the Local Rules of Civil Procedure for
 the District of Connecticut and Standing Orders regarding scheduling in civil cases and
 the filing of trial memoranda.
       Counsel and Self-Represented Parties are alerted to the requirements of Fed. R.
 Civ. P. 26(f) and Local Civil Rule 26, which require that the parties conduct a case
 management planning conference and prepare and file a report of the conference on
 Form 26(f) which appears in the Appendix to the Local Rules
        Counsel and Self-Represented Parties are hereby notified that failure to file and
 serve a memorandum in opposition to a motion, within 21 days after the motion is filed,
 may be deemed sufficient cause to grant the motion. Failure to file and serve a
 memorandum in opposition to a motion to dismiss within 21 days after the motion is filed
 may be deemed sufficient cause to grant the motion, except where the pleadings
 provide sufficient grounds to deny the motion. See D. Conn. L. Civ. R. 7(a)2.
       Counsel and Self-Represented Parties are further notified that they are required
 to comply with requirements relating to Motions for Summary Judgment as set forth in
 Fed. R. Civ. P. 56 and D. Conn. L. Civ. R. 56.
       Counsel and Self-Represented Parties are further advised that they may
 request a referral of their case to a United States Magistrate Judge for disposition.
 See 28 U.S.C. 636 and Rule 73 of the Local Rules for United States Magistrate
 Judges.


                                                         Robin D. Tabora, Clerk
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               ORDER RE: DISCLOSURE STATEMENT


 Any nongovernmental corporate party to an action in this court
 shall file a statement identifying all its parent corporations and
 listing any publicly held company that owns 10% or more of the
 party’s stock. A party shall file the statement with its initial
 pleading filed in the court and shall supplement the statement
 within a reasonable time of any change in the information.

 Counsel for plaintiff(s) or removing defendant(s) shall be
 responsible for serving a copy of this order upon all parties to
 the action.




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